                       Case MDL No. 2406 Document 31 Filed 09/24/12 Page 1 of 2
  UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                 2406
                                         Blue Cross Blue Shield Litigation
MDL No. _____________ & TITLE - IN RE: __________________________________

Case Caption (Include Plaintiff, District, and Civil Action No.) (attach list if necessary):
Jerry L. Conway, D.C. v. Blue Cross and Blue Shield of Alabama, et al., Case # 2:12-cv-2532 N.D. Ala.
_________________________________________________________________

                                     CORPORATE DISCLOSURE STATEMENT
                             Blue Cross and Blue Shield of
                             Kansas, Inc.
The undersigned counsel for ___________________________,   (attach list if necessary) certifies that this
party is a non-governmental corporate party and that:


             This party's parent corporation(s) are listed below:




             The following publicly-held corporation(s) own 10% or more of the party's stock (attach list if
             necessary):




OR
✔
X
X       This party does not have any parent corporations; and no publicly-held corporation owns 10% or
more of the party's stock.




     /s/Kathleen Taylor Sooy                                                        Crowell and Moring LLP
_____________________________                                                      __________________________________
       Signature of Attorney                                                                            Name of Firm


 1001 Pennsylvania Ave., NW                                                       Washington, D.C. 20004
___________________________                                                      ___________________________________
       Address                                                                                          City/State/Zip Code

       September 24, 2012
Date _____________________


Instructions:

1. Download the form. Fill out the form and save as a PDF document. All documents filed with the Judicial Panel should be in PDF Format including attachments and
exhibits. The Corporate Disclosure Statement is to be filed as a separate document. Any documents submitted with the Corporate Disclosure Statement are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.
3. Click on Corporate Disclosure Statement. Select Next.
4. Enter the three or four digit number (without the MDL letters) and click the Find This Case button.
5. If this is the correct MDL No., select next. Also, select next for the following screen.
6. Choose the cases for which the Disclosure Statement is being filed.
7. Select the party filing the Disclosure Statement
8. Select the document to which the Corporate Disclosure relates. (Note: Disclosures filed in new litigations will be linked to the initial Motion for Transfer and Disclosures
filed in transferred litigations should be linked to the Conditional Transfer Order (CTO) or Motion and Brief to Vacate CTO).
9. Upload the Corporate Disclosure Form and any attachments as a PDF document.
10. Submit the Disclosure Statement by selecting the Next button.
             Case MDL No. 2406 Document 31 Filed 09/24/12 Page 2 of 2




                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2012, the foregoing Corporate Disclosure

Statement was electronically filed with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to all counsel of record.


                                               s/ Kathleen Taylor Sooy
                                               Kathleen Taylor Sooy
                                               Crowell and Moring LLP
                                               1001 Pennsylvania Ave. NW
                                               Washington, D.C. 20004
                                               Tel: (202) 624-2500
                                               Fax: (202) 628-5116
                                               ksooy@crowell.com

                                               Attorney for Defendants Blue Cross and
                                               Blue Shield of Kansas City, Blue Cross and
                                               Blue Shield of Kansas, Inc. and Blue Cross and
                                               Blue Shield of Nebraska
